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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF OKLAHOMA

 IN RE: BROILER CHICKEN GROWER                    No. 6:20-md-02977-RJS-CMR
 LITIGATION

                                                  Hon. Robert J. Shelby
                                                  Hon. Cecilia M. Romero



               NOTICE OF FIRM NAME AND EMAIL ADDRESS CHANGE

        TO THE COURT AND ALL PARTIES AND THEIR COUNSEL OF RECORD:
        PLEASE TAKE NOTICE that effective immediately, the contact information for
 John C. Whitfield, attorney for Plaintiffs, will be as follows:


 John C. Whitfield
 WHITFIELD COLEMAN BULLOCK, PLLC
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 Email: Jwhitfield@wcbfirm.com

Dated: July 22, 2021.

                                       Respectfully Submitted,

                                       BY: /s/ John C. Whitfield
                                       John C. Whitfield
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                                       Counsel for the Plaintiffs
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                               CERTIFICATE OF SERVICE

       On July 22, 2021 I electronically transmitted a true and correct copy of the foregoing
document to the Clerk of Court for filing using the CM/ECF system, which will send notification
of such filing to all counsel of record.



                                           /s/ John C. Whitfield
                                           John C. Whitfield

                                           Counsel for Plaintiffs




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